             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION
           CRIMINAL CASE NO. 2:12-cr-00033-MR-DLH-1


UNITED STATES OF AMERICA )
                            )
         vs.                )                     ORDER
                            )
GLENN ASHE.                 )
___________________________ )

     THIS MATTER is before the Court on the Defendant’s pro se letter

requesting the release of a truck which was seized by the Government and

a pro se letter requesting a copy of his sentencing transcript at the

Government’s expense [Docs. 142, 144].

     The Defendant is currently represented by counsel. The Court does

not ordinarily entertain motions filed by a criminal defendant who is

represented by counsel and who has not formally waived his right to

counsel. See LCrR 47.1(H). Accordingly, the Defendant’s pro se letters,

which the Court construes as motions, are denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s motions [Docs.

142, 144] are DENIED WITHOUT PREJUDICE.

     IT IS SO ORDERED.             Signed: December 30, 2013




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